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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                    *             CRIMINAL DOCKET NO. 09-391
                                            *

       v.                                   *             SECTION “K’”

                                            *
THEODORE PIERCE
                                    *    * *     *

                                           ORDER

       Considering the foregoing:

       IT IS HEREBY ORDERED that the Second Superceding Indictment against the

defendant be and is hereby dismissed without prejudice.

                                     21st day of December 2011.
       New Orleans, Louisiana, this ______


                                                     _______________________________
                                                     UNITED STATES DISTRICT JUDGE
